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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 VS.                                              §    CASE NO. 1:11-CR-111(3)
                                                  §
 VANCE MARTIN SATTLER                             §


          FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the District Court, Eastern District

 of Texas, the District Court referred this matter for hearing and the submission of findings of fact

 and a report and recommendation pursuant to 18 U.S.C. §§ 3401(i) and 3583(e). The United States

 alleges that the defendant, Vance Martin Sattler, violated conditions of supervised release imposed

 by United States District Judge Thad Heartfield. The United States Probation Office filed its

 Petition for Warrant or Summons for Offender Under Supervision (doc. #167) requesting the

 revocation of the defendant’s supervised release. The Court conducted a hearing on August 27,

 2015, in accordance with Federal Rules of Criminal Procedure 11, 32 and 32.1. The defendant was

 present and represented by counsel at the hearing. Having heard the evidence, this court factually



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 finds that the defendant has violated conditions of supervision and recommends that such violation

 warrants the revocation of his supervised release.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure11, the Court finds:

        a.      That the defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the plea of true in this cause by a United States

 Magistrate Judge subject to a final approval and imposition of sentence by the District Court.

        b.      That the defendant is fully competent and capable of entering an informed plea, that

 the defendant is aware of the nature of the charges and the consequences of the plea, that his plea

 of true is a knowing and voluntary plea, not the result of force or threats, and that the plea is

 supported by an independent evidentiary basis in fact establishing each of the essential elements of

 the conduct.

                                  STATEMENT OF REASONS

        A. Procedural History

        On September 5, 2012, The Honorable Thad Hearfield, U.S. District Judge of the Eastern

 District of Texas, sentenced Mr. Sattler after he pled guilty to the offense of Receipt and Possession

 of a Stolen Firearm, a Class C felony. Judge Hearfield sentenced to the defendant to 22 months

 imprisonment followed by 2 years supervised release subject to the standard conditions of release,

 plus numerous special conditions. On January 15, 2014, Mr. Sattler completed his period of

 imprisonment and began service of the supervision term.




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         B. Allegations in Petition

         The United States Probation Office alleges that the defendant violated a standard condition

 of supervised release by failing to report to the United States Probation Office in the Central District

 of Illinois on June 23, 2014, as instructed.

         C. Evidence presented at Hearing:

         At the hearing, the Government proffered evidence in support of the allegation in the

 petition to revoke. Specifically, if the case proceeded to a final hearing, the Government would

 present evidence to include testimony that as a condition of his supervision, Mr. Sattler was

 instructed to report to the United States Probation Office in the Central District of Illinois on June

 23, 2014, but he failed to report as directed.

         Defendant, Vance Martin Sattler, offered a plea of true to the allegations. Specifically, he

 agreed with the evidence summarized above and pled true to the allegation that failed to report as

 directed in violation of his supervision conditions.

         D. Sentencing Guidelines; Findings and Recommended Disposition

         The allegations, supporting evidence and plea of true warrant revocation of supervised

 release. See 18 U.S.C. § 3583(e)(3). The Court factually finds by a preponderance of the evidence

 that the defendant violated a standard condition of his supervised release by failing to report as

 directed. This conduct constitutes a Grade C violation under U.S.S.G. § 7B1.3(a)(1). Upon finding

 a Grade C violation, the Court may revoke the defendant’s supervised release. See U.S.S.G.

 § 7B1.3(a)(2).

         Based upon the Defendant’s criminal history category of III and the Grade C violation, the

 sentencing guidelines suggest a sentence of imprisonment for a period ranging from 5 to 11 months.


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 See U.S.S.G. § 7B1.4(a). Because the original offense of conviction was a Class C felony, the

 statutory maximum imprisonment term upon revocation is two (2) years.                         See 18 U.S.C.

 § 3583(e)(3).

            If the Court revokes a defendant’s term of supervision and orders the defendant to serve a

 term of imprisonment for that revocation, the Court may also require that the defendant be placed

 on a new term of supervised release. See 18 U.S.C. § 3583(h). The length of this term of

 supervised release shall not exceed the term of supervised release authorized by statute for the

 offense which resulted in the original term of supervised release, less any term of imprisonment that

 was imposed upon revocation of supervised release. Id.                In this case, the authorized term of

 supervised release by statute is not more than 3 years. See 18 U.S.C. § 3583(b)&(h).

            The Fifth Circuit states that Chapter 7 of the Sentencing Guidelines regarding the revocation

 of supervised release is advisory only. See United States v. Cade, 279 F.3d 265, 271 n.2 (5th Cir.

 2002) (citing United States v. Montez, 952 F.2d 854, 859 (5th Cir. 1992); United States v. Headrick,

 963 F.2d 777, 782 (5th Cir. 1992)). Because Chapter 7 was promulgated as an advisory policy

 statement and there are no applicable guidelines for sentencing after revocation of supervised

 release1, the Court may impose a greater or lesser sentence upon revocation. United States v.

 Gonzalez, 250 F.3d 923, 925 (5th Cir. 2001). Further, a sentence imposed for revocation will be

 upheld unless it is in violation of the law or plainly unreasonable. Id. See also United States v.

 Pena, 125 F.3d 285, 288 (5th Cir. 1997) (citations omitted).

            Here, the evidence and the defendant’s own admission supports a finding that the defendant



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         See U.S. Sentencing Guidelines Manual, Ch. 7, pt. A, cmt. 1 ("At this time, the Commission has chosen to
promulgate policy statements only.")

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 violated his supervision conditions. Mr. Sattler pled true, agreed with the Court’s recommended

 sentence for that violation, and waived his right to allocute before the District Court.

        Accordingly, based upon the defendant’s plea of true, the agreement of the parties, and the

 evidence presented in this case, it is the recommendation of the undersigned United States

 Magistrate Judge that the District Court accept the plea of true and revoke Defendant’s supervised

 release. The undersigned magistrate judge recommends that the District Court order Defendant to

 serve a term of five (5) months imprisonment.

        The Court further recommends that, upon his release from prison, the defendant serve a new

 term of supervised release for two (2) years. The new term of supervision should be subject to

 the mandatory and standard conditions adopted by the Court and imposed in the original judgment

 of conviction. The Court further finds that the special conditions stated in the judgment originally

 imposed by the District Court are still relevant based on the record of the case and the evidence

 submitted by the Probation Office in conjunction with the petition to revoke.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

 object bars that party from: (1) entitlement to de novo review by a district judge of proposed

 findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

 (2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

 conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415,

 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the courts

 require that, when a party takes advantage of his right to object to a magistrate’s findings or


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     recommendation, a district judge must exercise its nondelegable authority by considering the actual

     evidence and not merely by reviewing and blindly adopting the magistrate judge’s report and

     recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

     Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                   SIGNED this the 31st day of August, 2015.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




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